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FoR rle WESTERN DISTRICT oF TENNESSEE 0540@_5 `“\QC_
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FREDERICK WALKER, ¢;j J¢:// LOLRF
Plaintiff,

VS. NO. 05-1147-'Y/An

WARDEN GLEN TURNER, ET AL.,

\_/\_/\-./\-/\_/\¢../\,/\_/\-¢./

Defendants.

 

ORDER ON MOTION FOR STATUS

 

PlaintiffFrederick Walker, an inmate at the Northwest Correctional Complex in Tiptonville,
Tennessee, filed a complaint pursuant to 42 U.S.C. § 1983 on May 27, 2005. On August 2, 2005,
he filed a Motion for Status of Civil Rights Action, expressing concern that perhaps an order to issue
process for the defendants had gone astray in the mail.

Plaintifi`s complaint currently is undergoing the screening required by 28 U.S.C.
§ 1915(e)(2) and § 191 SA. Process will be issued for the defendants only if the case is permitted to
go forward Plaintiff Will be promptly notified When the Court makes that decision

IT lS SO ORDERED.

 

 

UN ED STATES DISTRICT JUDGE

gC?/MWM

DATE

This document entered on the docket sheet ln compliance

with Ru|e 58 and,'or]Q (a) FF\CP on 03 'QQ-US

DISTRICT C URT - WESNTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:OS-CV-Ol 147 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Frederick Walker

Northwest Correctional Cornplex
256177

960 State Route 212

Tiptonville7 TN 38079

Honorable .l ames Todd
US DISTRICT COURT

